
722 S.E.2d 592 (2011)
365 N.C. 326
STATE of North Carolina
v.
Nathan Darnell WILLIAMSON.
No. 425A10.
Supreme Court of North Carolina.
December 9, 2011.
Christy E. Wilhelm, Benjamin G. Goff, Attorneys at Law, Hartsell &amp; Williams, P.A., Concord, for Defendant-Appellant-Williamson, Nathan Darnell.
Sharon Patrick-Wilson, Special Deputy Attorney General, Daniel P. O'Brien, Assistant Attorney General, for Plaintiff-Appellee-State of North Carolina.

ORDER
JACKSON, J.
This case has come before this Court on the basis of a dissenting opinion in the Court of Appeals in which both the majority and dissent address the significance of the trial court's denial of defendant's Motion for Appropriate Relief without entering a written order memorializing that decision. State v. Williamson, ___ N.C.App. ___, 698 S.E.2d 727 (2010). During the course of our review, it came to the attention of this Court that a written order actually was entered by the trial court on or about 29 June 2009 (copy attached to this Order), the existence of which apparently was not known to appellate counsel.
Now, therefore, this Court, on its own motion, ORDERS that the 7 September 2010 decision of the Court of Appeals is VACATED and REMANDS this matter to the Court of Appeals, so that it may determine:
1. Whether to amend the record on appeal under the North Carolina Rules of Appellate Procedure to permit consideration of the attached order;
2. Whether to order new briefs and/or oral arguments in light of its ruling on item 1 above;
3. Whether to address defendant's issues on the merits; and
4. Whether to enter any other or further relief as it may deem appropriate.
By order of this Court in Conference, this 8th day of December, 2011.
